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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

                                                   )
                 Peter Pilarski                    )                Case No: 17 C 8659
                                                   )
                                                )
                 v.                             )
                                                )                   Judge: Rebecca R. Pallmeyer
                                                )                   Magistrate Judge: Sidney I. Schenkier
                                                )
                 Rent Recover of Better NOI LLC )
                                                )

                                                  ORDER

          Settlement conference is set for 5/01/19 at 1:30 p.m. The settlement conference will be held in the
Courtroom, Room #1843. The settlement conference will be conducted in accordance with the Court’s
Standing Order on Instructions for Settlement Conference, which is enclosed and which can also be accessed
from the Court’s webpage at http://www.ilnd.uscourts.gov/judge-info.aspx?EBclBxz8ceU=. The schedule
for exchange of settlement letters required by the Standing Order is as follows: plaintiff’s counsel shall serve
a settlement letter on defense counsel by 3/29/19, and defendant’s counsel shall serve a settlement letter on
plaintiff’s counsel by 4/19/19. The parties may not change these dates for exchange without either written
agreement of the parties or Court order. The defendant’s counsel shall deliver copies of the settlement letters
to chambers by noon on 4/22/19. The parties may not change this date absent Court order. Parties with “full
and complete settlement authority,” as defined in the Standing Order, must personally attend the conference.
By agreement, plaintiff is excused from attending the conference in person but must be available by phone at
all times. The parties who attend the conference shall read all settlement letters prior to the commencement of
the conference. Failure to comply with the Standing Order or with the schedule set in this order may result in
sanctions. (For further details see order(s) attached).




Date:     March 11, 2019                                    /s/ _________________________________
                                                                    SIDNEY I. SCHENKIER
                                                                    UNITED STATES MAGISTRATE JUDGE
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                          MAGISTRATE JUDGE SIDNEY I. SCHENKIER
                                 219 South Dearborn Street
                                     Chicago, IL 60604

Courtroom 1843                                                         Telephone:   (312) 435-5609
Chambers 1846                                                          Fax Number: (312) 554-8677

                      INSTRUCTIONS FOR SETTLEMENT CONFERENCE

The Court believes that the parties should fully explore and consider settlement, and should do so at the
earliest reasonable opportunity in the case. For those cases that can be resolved through settlement,
early consideration of settlement can allow the parties to avoid unnecessary litigation. This will allow
the parties to also avoid the substantial cost, expenditure of time, and distractions that are typically a
part of the litigation process. Even for those cases that cannot be resolved through settlement, early
consideration of settlement can allow the parties to better understand the factual and legal nature of their
dispute. This often can result in focusing and streamlining the issues to be litigated – which, again, can
save the parties considerable time and money.

Consideration of settlement is a serious matter; it therefore deserves and requires serious and thorough
preparation prior to the settlement conference. Set forth below are the procedures that the Court will
require the parties to follow in preparing for the settlement conference, and the procedures that the
Court typically will employ in conducting the conference. Counsel are directed to provide a copy of
this Standing Order to their clients, and to discuss these procedures with them.

•   PRE-SETTLEMENT CONFERENCE EXCHANGE OF PROPOSALS. The Court has found
    that settlement conferences are more likely to be productive if, before the conference, the
    parties have had a written exchange of their settlement positions. Accordingly, pursuant to a
    schedule set by the Court, the parties will be required to serve on each other
    settlement letters. Plaintiff’s letter shall set forth at least the following information: (a) a
    brief summary of the evidence and legal principles that plaintiff asserts will allow it to
    establish liability, (b) a brief explanation of why damages or other relief would
    appropriately be granted at trial, (c) an itemization of the damages plaintiff believes can be
    proven at trial and a brief summary of the evidence and legal principles supporting those
    damages, and (d) a settlement proposal. Defendant’s responding letter shall set forth at least
    the following information: (a) any points in plaintiff’s letter with which defendant agrees, (b)
    any points in plaintiff’s letter with which defendant disagrees, with references to supporting
    evidence and legal principles, and (c) a settlement offer. The Court expects that each of these
    letters typically should be five pages or fewer.
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•   Once the parties have exchanged the letters, copies of the letters shall be delivered to chambers.
    DO NOT FILE COPIES OF THESE LETTERS IN THE CLERK’S OFFICE.

    The Order scheduling the settlement conference will set forth the dates for the exchange of
    letters and their delivery to chambers. The schedule is designed to ensure that the Court and the
    parties have enough time to prepare for the conference. Failure to comply with the schedule set by
    the Court may result in sanctions.

•   ATTENDANCE OF THE PARTIES REQUIRED. Unless the Court allows otherwise by
    separate order, parties with full and complete settlement authority are required to personally
    attend the conference. This means that if a party is an individual, that individual must
    personally attend; if a party is a corporation or governmental entity, a representative of that
    corporation or governmental entity (other than counsel of record) with full and complete
    settlement authority must personally attend. “Full and complete settlement authority” means
    the authority to negotiate and agree to a binding settlement agreement at any level up to
    the settlement proposal of the plaintiff. If a party requires approval by an insurer to settle,
    then a representative of the insurer with full and complete settlement authority must attend.

    The Court sets aside a significant block of time for each settlement conference. The Court
    strongly believes that the personal presence of the parties, and their direct participation in the
    discussions and “give and take” that occur, will materially increase the chances of settlement.
    Thus, absent a showing of unusual or extenuating circumstances, the Court will not permit a
    client to merely be available by telephone as an alternative to personal presence at the
    conference. The Court requires that parties attending the conference read the settlement letters
    exchanged between the parties before coming to the conference.

•   CONFERENCE FORMAT. The Court generally will follow a mediation format: that is,
    each side will have an opportunity to make a presentation to the other side, which will be
    followed by joint discussion with the Court and private meetings by the Court with each side.
    The Court expects both the lawyers and the party representatives to be fully prepared to
    participate in the discussions and meetings. In these discussions, the Court expects all parties to
    be willing to reassess their previous positions, and to be willing to explore creative means for
    resolving the dispute.

•   STATEMENTS INADMISSIBLE. Any statements made by any party during the settlement
    conference will not be admissible at trial. The Court expects the parties to address each other
    with courtesy and respect, but at the same time strongly encourages the parties to speak frankly
    and openly about their views of the case.

    ANY PARTY WHO WISHES TO VARY FROM THE PROCEDURES SET FORTH IN
    THIS STANDING ORDER MUST MAKE AN APPROPRIATE REQUEST TO THE
    COURT PRIOR TO THE EXCHANGE OF SETTLEMENT LETTERS DESCRIBED
    ABOVE.
                                              ENTER:


                                              __________________________________________
                                              SIDNEY I. SCHENKIER
                                              United States Magistrate Judge
Dated: January 5, 2015
